                  RENDERED: AUGUST 16, 2024; 10:00 A.M.
                          TO BE PUBLISHED

                Commonwealth of Kentucky
                           Court of Appeals

                              NO. 2022-CA-0451-MR

THE ESTATE OF KATIE LYNN
GRISEZ; AND TRACY GRISEZ, AS
ADMINISTRATOR OF THE ESTATE
OF KATIE LYNN GRISEZ                                                 APPELLANTS


                APPEAL FROM TAYLOR CIRCUIT COURT
v.            HONORABLE SAMUEL TODD SPALDING, JUDGE
                       ACTION NO. 21-CI-00022


ERIE INSURANCE COMPANY AND
ELIJAH STONE PERKINS                                                   APPELLEES


                                    OPINION
                                   AFFIRMING

                                   ** ** ** ** **

BEFORE: ACREE, GOODWINE, AND LAMBERT, JUDGES.

ACREE, JUDGE: Appellant, the Estate of Katie Lynn Grisez, appeals the Taylor

Circuit Court’s order dismissing Count 3 of its First Amended Complaint against

Appellee, Erie Insurance Company (Erie). That count is based on a theory of

liability and cause of action not recognized in Kentucky – a tort claim for
spoliation of evidence. The circuit court followed Monsanto Company v. Reed,

950 S.W.2d 811 (Ky. 1997) (hereinafter Monsanto) and dismissed the count. That

was a correct application of Supreme Court authority and, therefore, we affirm.

                                         FACTS

                In 2020, Katie Grisez and Elijah Perkins rode in a Utility Terrain

Vehicle (UTV) in a field and struck a large sinkhole. The sinkhole tore the front

wheel assembly away from the vehicle and Grisez was thrown to the ground. Her

injuries were fatal.

                Erie insured the UTV, took possession of it, and then sold it. It was

resold for parts to a second buyer. The Estate alleges Erie, despite knowing of

potential civil and criminal litigation, allowed its own paid expert to examine the

vehicle before selling it, and claims its actions constitute spoliation of evidence in

violation of KRS1 524.100, which makes it a crime to tamper with evidence.

                In Count 3, the Estate claimed KRS 446.070 authorized a private right

of action against Erie for violating that criminal statute. Citing Monsanto, Erie

moved to dismiss that count pursuant to CR2 12.02(f), for failing to state a claim

upon which relief may be granted. The court granted Erie’s motion and this appeal

follows.


1
    Kentucky Revised Statutes.
2
    Kentucky Rules of Civil Procedure.

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                             STANDARD OF REVIEW

             We review dismissals under CR 12.02(f) de novo. Hardin v. Jefferson

Cnty. Bd. of Education, 558 S.W.3d 1, 5 (Ky. App. 2018).

                                      ANALYSIS

             The Estate says its claim is properly based on KRS 446.070, the

legislative grant of a right to bring private civil actions for violations of other

statutory prohibitions, including criminal statutes. We appreciate the argument.

             Known as the private-right-of-action statute, KRS 446.070 says, “[a]

person injured by the violation of any statute may recover from the offender such

damages as he sustained by reason of the violation, although a penalty or forfeiture

is imposed for such violation.” “The statute creates a private right of action in a

person damaged by another person’s violation of any statute that is penal in nature

and provides no civil remedy, if the person damaged is within the class of persons

the statute intended to be protected.” Hargis v. Baize, 168 S.W.3d 36, 40 (Ky.

2005) (citations omitted). Put another way, “KRS 446.070 . . . creates liability by

virtue of the breach of duty” owed to the plaintiff as established by any other

Kentucky statute. Collins v. Hudson, 48 S.W.3d 1, 4 (Ky. 2001).

             The “other Kentucky statute” upon which the Estate bases its tort

claim is KRS 524.100. It says:




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              (1) A person is guilty of tampering with physical evidence
              when, believing that an official proceeding is pending or
              may be instituted, he:

                     (a) Destroys, mutilates, conceals, removes or alters
                     physical evidence which he believes is about to be
                     produced or used in the official proceeding with
                     intent to impair its verity or availability in the
                     official proceeding; or

                     (b) Fabricates any physical evidence with intent
                     that it be introduced in the official proceeding or
                     offers any physical evidence, knowing it to be
                     fabricated or altered.

              (2) Tampering with physical evidence is a Class D felony.

KRS 524.100.

              We do not deny these statutes appear to authorize the very claim the

Estate asserts against Erie in Count 3. In fact, this Court embraced the Estate’s

identical view nearly thirty years ago when it rendered Reed v. Westinghouse

Electric Corporation, Monsanto Company, No. 1993-CA-002125-MR, 1995 WL

96819 (Ky. App. Mar. 10, 1995), discretionary review granted (Jan. 10, 1996),3

rev’d sub nom. Monsanto Co. v. Reed, 950 S.W.2d 811 (Ky. 1997) (hereinafter

Reed).

              In Reed, this Court held “that the tort of spoliation is consistent with

the statutory and common law of this jurisdiction.” Reed, No. 1993-CA-002125-


3
 All but the caption of the Court of Appeals opinion was scrubbed from Westlaw by Supreme
Court order. References to Reed here cite the slip opinion in the Court of Appeals archives.

                                            -4-
MR, slip op. at 15. We further said, “If one proves the elements of [a criminal

statute] and suffers an ancillary injury, then correspondingly, KRS 446.070 may be

utilized to address the wrong.” Id. at 16. But that is not the law.

             Our Supreme Court reversed “the Court of Appeals[’] creation of a

new cause of action for ‘spoliation of evidence.’” Monsanto, 950 S.W.2d at 815.

             We decline the invitation to create a new tort claim.
             Where the issue of destroyed or missing evidence has
             arisen, we have chosen to remedy the matter through
             evidentiary rules and “missing evidence” instructions. See
             Tinsley v. Jackson, Ky., 771 S.W.2d 331 (1989) and
             Sanborn v. Commonwealth, Ky., 754 S.W.2d 534 (1988).
             The Court of Appeals recognized that only three states
             have adopted this tort claim. The vast majority of
             jurisdictions have chosen to counteract a party’s deliberate
             destruction of evidence with jury instructions and civil
             penalties. Representative of this approach is Federated
             Mutual Insurance Co. v. Litchfield Precision Components,
             Inc., 456 N.W.2d 434 (Minn. 1990). We will remain
             among those jurisdictions and not now allow such claims
             for relief.

Id.
             On at least two occasions, the Kentucky Supreme Court reaffirmed its

preference “to remedy the matter through evidentiary rules and ‘missing evidence’

instructions.” Id. See Jenkins v. Commonwealth, 607 S.W.3d 601, 609 (Ky.

2020); University Medical Center, Inc. v. Beglin, 375 S.W.3d 783, 788 (Ky. 2011),

as modified on denial of reh’g (Mar. 22, 2012). See also Johnson v. Wood, 626




                                         -5-
S.W.3d 543, 552 (Ky. 2021) (citing Monsanto for the principle that “the trial

court’s denial of recognition of a new tort can be remedied on direct appeal”).

              Monsanto does not explain why KRS 446.070 is not a proper vehicle

for pursuing a private right of action for spoliation. In fact, the Supreme Court

does not even cite KRS 446.070. However, this Court postulates one rationale for

concluding Monsanto implicitly declined to recognize even a statute-based tort.

              As Hargis v. Baize requires, “the person damaged [must be] within

the class of persons the statute intended to be protected.” 168 S.W.3d at 40. The

Supreme Court notes there is an implied bad faith element to spoliation and that

limiting the “obligation to preserve evidence to reasonable bounds . . . confines it

to that class of cases where the interests of justice most clearly require it . . . .”

Swan v. Commonwealth, 384 S.W.3d 77, 91 (Ky. 2012) (quoting Arizona v.

Youngblood, 488 U.S. 51, 58, 109 S. Ct. 333, 337, 102 L. Ed. 2d 281 (1988)). In

other words, sanctions and remedies for spoliation of evidence, whether statutory

or procedural, do not serve to protect one party or another so much as to protect

and serve “the interests of justice.”

              Our proposed rationale is consistent with the “majority of states that

have considered whether to recognize an independent tort of spoliation [but] have

rejected the concept . . . rooted in the notion that the traditional evidence-based

sanctions for discovery violations and destruction of evidence sufficiently protect


                                            -6-
the interests of justice in general and the parties involved in a lawsuit.”4 ERIC M.

LARSON, 40 CAUSES OF ACTION 2d 1, § 12 (originally published in 2009).

             The Estate expressly asks that “this Court overrule Monsanto.”

(Appellant’s brief, p. 10). This, of course, we cannot do because “[t]he Court of

Appeals is bound by and shall follow applicable precedents established in the

opinions of the Supreme Court and its predecessor court.” Supreme Court Rule

1.030(8)(a). Only the Supreme Court can tell us if our proposed rationale for

Monsanto is wrong, and the Estate can continue to pursue its argument for reversal

in that higher court if it wishes. Johnson, 626 S.W.3d at 552.

                                    CONCLUSION

             For the foregoing reasons, this Court affirms the Taylor Circuit

Court’s order dismissing Count 3 of the Estate’s complaint.

             ALL CONCUR.




4
  In addition to Kentucky, the following states take this view: Alabama, Arizona, Arkansas,
California, Delaware, Florida, Georgia, Indiana, Iowa, Kansas, Maryland, Massachusetts,
Mississippi, Montana, Nevada, New Jersey, New York, Texas, and Wisconsin. ERIC M. LARSON,
40 CAUSES OF ACTION 2d 1, § 12 (originally published in 2009).

                                           -7-
BRIEFS FOR APPELLANTS:      BRIEF FOR APPELLEE ERIE
                            INSURANCE CO.:
Gregory J. Bubalo
Kate A. Dunnington          Bradly E. Moore
Winfield M. Frankel         Diane R. Conley
Louisville, Kentucky        Lexington, Kentucky

Wesley E. Bright
Campbellsville, Kentucky




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